Case 2:02-cV-02702-.]DB-tmp Document 93 Filed 07/13/05 Page 1 of 4 Page|D 103

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lnuf»:m 1-.»5. 'JPW "'"`*'~

UN|TED STATES OF AMER|CA W;D O; m MEMPH[S .
ffulb DEN|CON, |NC.,

Plaintiff,
v. No. 02-2702 BIP

ABOTT ASBESTOS, |NC. and
MARKEL |NSURANCE COMPANY, |NC.,

\_r\_r\_¢'~_¢'~.,¢\_r-__r\_r~_.¢~`,¢~q_r~_p

Defendants,

 

N|ARKEL |NSURANCE COMPANY, |NC.,
Third-Party P|aintiff,
v.

JASON WARDEN, L|NDA WARDEN,
FLYNN WARDEN and RHONDA WARDEN,

‘-u-f'-_r'~_d-_¢'~_¢'\_¢\_r\_#'-_r'~_p\_r

Third-Party Defendants.

 

CONSENT JUDGMENT AGA|NST FLYNN WARDEN
AND RHONDA WARDEN

 

By consent and agreementl |\/larke| |nsurance Company, the third-party plaintiff, and
F|ynn V\Jarden and Rhonda Warden, thethird-partydefendants, announce tothe Court that
judgment in the amount ot $150,507.42 should be rendered in favor of Marke| |nsurance

Company against Flynn Warden, individua!|y, and Rhonda Warden, individually.

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Case 2:02-cV-02702-.]DB-tmp Document 93 Filed 07/13/05 Page 2 014 Page|D 104

|T |S, THEREFORE, ORDERED that judgment is rendered for the third-party

plaintiff, Marke| insurance Company, in the amoeunt 01$1 50,507.42, against F|ynn Warden,

individuai|y, and Rhonda Warden, individua|iy‘b
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D`¥?`cr JuDGE J. oANiEi> BREEN
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APPRO\/ED:

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anzath B. stengel BPR No. 13061
Less, Getz & l_ipman, F’LC

100 Peabody P|ace, Suite 1000

l\/iemphis, TN 38103

(901) 525-8700

Attorney for |\/|arke| insurance Company

)A¢W L. wave a 2a
Steven L. Lefkovitz u/SGLW

|_efkovitz & Lefkovitz

618 Church Street, Suite 410

Nashvi|ie, TN 37219

Attorney for Fiynn Warden and Rhonda VVarden

H'\DOCS\¢¢QOB\p|d ebs - consentjudgment against flynn Warden and rhonda warden\wpd

 

F'TNI\I'ESSEE

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This notice confirms a copy of the document docketed as number 93 in
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Joseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Adam 1\/1. Nahmias

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS

262 German Oak Dr.
1\/lemphis7 TN 3 8018

Steven L. Lefkovitz

LAW OFFICE OF STEVEN L LEFKOVITZ
618 Church Street

Ste 4 1 0

Nashville, TN 37219

Linda Warden
6904 Millcreek Lane
Lyles7 TN 37098

Steven L. Lefkovitz

LAW OFFICE OF STEVEN L LEFKOVITZ
618 Church St

Ste 4 1 0

Nashville, TN 37219

Jason Warden

% Abbott Asbestos, Inc.
6904 Mill Creek Lane
Lyles7 TN 37098

Flynn Warden
6360 Rice Road
Lyles7 TN 37098

Case 2:02-cV-02702-.]DB-tmp Document 93 Filed 07/13/05 Page 4 014 Page|D 106

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

Elizabeth 13. Stengel
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

